                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 UNITED STATES OF AMERICA,                          )
                                                    )
        Plaintiff,                                  )
                                                    )
 v.                                                 )   No. 3:07-cr-00005-10
                                                    )
 RONALD FUENTES-MAJANO,                             )
                                                    )
        Defendant.                                  )

                         MEMORANDUM OPINION AND ORDER

       The First Step Act of 2018 authorizes release of prisoners based upon “extraordinary and

compelling reasons”; and when the § 3553(a) factors support release. United States v. Jones, 980

F.3d 1098, 1107–08 (6th Cir. 2020). Ronald Fuentes-Majano’s Motion and Supplemental Motion

for Compassionate Release under the First Step Act, (Doc. Nos. 1172, 1182), which the

Government opposes, (Doc. No. 1192), is ripe for a decision. (Doc. No. 1172 at 13). His motions

will be denied.

       Fuentes-Majano’s argument that his release is required due to the COVID-19 pandemic, is

misplaced because he has received both the vaccine and booster. (Doc. No. 1192-2 at 34).

Vaccination forecloses as a matter of law a finding of extraordinary and compelling reasons for

compassionate release. United States v. McKinnie, 24 F.4th 583, 588 (6th Cir. 2022) (citing United

States v. Lemons, 15 F.4th 747, 751 (6th Cir. 2021)).

       Fuentes-Majano also contends that his release is proper because his counsel was ineffective

at the plea stage; the Government engaged in prosecutorial misconduct by offering new evidence

at the sentencing hearing; and he is no longer a “violent offender” in light of United States v.

Davis. (Doc. No. 1172 at 3–4). None of these arguments are properly before the Court because


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each were raised in his prior 28 U.S.C. § 2255 petition, (Case No. 3:12-cv-01005, Doc. No. 27),

each were addressed and rejected by the Court, (id., Doc. No. 46), and the Sixth Circuit denied a

certificate of appealability. (Id., Doc. No. 60). Moreover, the Sixth Circuit has held that a motion

for compassionate release is “not the proper vehicle” for arguments that were or could have been

raised under 28 U.S.C. § 2255. United States v. Charles, 843 F.3d 1142, 1147 (6th Cir. 2016).

       Neither do the applicable § 3553(a) factors warrant Fuentes-Majano’s release. The violent

and dangerous nature of Fuentes-Majano’s offense of conviction undermines his request for

compassionate release. Fuentes-Majano engaged in repeated, often violent conduct on behalf of

the MS-13 gang, including: (1) killing rival gang member Alejandro Diaz by beating him in the

head with a concrete block; (2) attempting to kill others believed to be rival gang members by

shooting into both a home and a vehicle; (3) shooting at an individual who allegedly disrespected

the MS-13 gang; and (4) shooting an individual believed to belong to a rival gang. In similar cases,

courts have held inmates did not merit compassionate release. See United States v. Wright, 991

F.3d 717, 720 (6th Cir. 2021) (no compassionate release for prisoner who orchestrated a murder);

United States v. Arana, No. 2:95-cr-80272-13, 2020 U.S. Dist. LEXIS 80394, at *10 (E.D. Mich.

May 7, 2020) (same).

       Due to the seriousness of his behavior, there is a strong need for the sentence imposed to

reflect the seriousness of his offenses and to send a strong message for general and specific

deterrence. 18 U.S.C. § 3553(a)(2). This is especially true given that Fuentes-Majano has yet to

serve even 17 years of his life sentence. It also appears that Fuentes-Majano’s respect for the law

remains a challenge for him. He has had several disciplinary infractions while incarcerated,

including at least three charges for possessing a dangerous weapon, assaulting an inmate, and

phone abuse. (Doc. No. 1192-3). This does not support his request for release. United States v.



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Motton, No. 20-1962, 2021 U.S. App. LEXIS 2868, at *5–6 (6th Cir. Feb. 2., 2021) (no

compassionate release due, in part, to disciplinary infractions); United States v. Allen, No. 3:15-

cr-00139, 2020 U.S. Dist. LEXIS 170925, at *20–21 (M.D. Tenn. Sept. 17, 2020) (compassionate

release not justified because of BOP disciplinary infractions). The need to avoid unwarranted

sentencing disparities also weighs against compassionate release. 18 U.S.C. § 3553(a)(6). Fuentes-

Majano’s guideline range provided for a custody term of 360 months to life, and the Court imposed

a life sentence. (Doc. No. 1045 at 2). Reducing his sentence to less than half of the lower end of

his guideline range risks creating an unwarranted disparity.

       The Court acknowledges that Fuentes-Majano has tried to rehabilitate himself in prison.

He has completed more than fifty education courses, earned his GED, become proficient in the

English language, and “facilitated Alternative To Violence project seminars.” (Doc. No. 1172 at

6–7). He has also “maintained strong family connections and community ties” and “plans to live

with his mother, his wife, and daughter” upon release. (Id. at 7). These efforts, however, are

outweighed by other § 3553(a) factors.

       Accordingly, and for the foregoing reasons, Fuentes-Majano’s Motions for Compassionate

Release (Doc. Nos. 1172, 1182) are DENIED.

       IT IS SO ORDERED.



                                             __________________________________________
                                             WAVERLY D. CRENSHAW, JR.
                                             CHIEF UNITED STATES DISTRICT JUDGE




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